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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                        CENTRAL DIVISION at LEXINGTON

UNITED STATES OF AMERICA,                 )
                                          )
     Plaintiff,                           )
                                          )             Criminal Case No.
v.                                        )                12-cr-65-JMH
                                          )
ELI HOLLEY,                               )     MEMORANDUM OPINION AND ORDER
                                          )
     Defendant.                           )

                                          ***

     This   matter      is   before   the       Court   Defendant     Eli   Holley’s

Motion for Release Pending Appeal [DE 708].                    In her Motion she

requests relief under 18 U.S.C. § 3143(b), which provides that,

            (1) Except as provided in paragraph (2), the
            judicial officer shall order that a person
            who has been found guilty of an offense and
            sentenced to a term of imprisonment, and who
            has filed an appeal or a petition for a writ
            of certiorari, be detained, unless the
            judicial officer finds--

            (A)   by clear and convincing evidence that
                  the person is not likely to flee or
                  pose a danger to the safety of any
                  other   person  or  the  community if
                  released under section 3142(b) or (c)
                  of this title; and

            (B)   that the appeal is not for the purpose
                  of delay and raises a substantial
                  question of law or fact likely to
                  result in—

                  (i)     reversal,

                  (ii) an order for a new trial,
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                       (iii)       a sentence that does not include
                                   a term of imprisonment, or

                       (iv) a reduced sentence to a term of
                              imprisonment less than the total
                              of the time already served plus
                              the expected duration of the
                              appeal process.


       For     the     purposes          of   evaluating          her    Motion,          the    Court

accepts that Defendant is not likely to flee or pose a danger to

the safety of any other person or the community and that her

appeal    is     not    for        the     purpose        of     delay       and    may       raise   a

substantial question of law or fact.                           The Court understands that

she intends to argue on appeal that the Court’s calculation of

loss   attributable           to     her      was       erroneous       because          it   imposed

responsibility         upon    her        for    all      activity       of        the    conspiracy

during        essentially      the        entire        duration        of    the        conspiracy,

notwithstanding her uncontroverted testimony that she was not

involved for periods of months. She will argue on appeal that

there was no credible evidence that the level of activity of the

conspiracy was the same throughout its life, and, yet, the Court

calculated the amount of loss based upon an average. On appeal,

it will be her position that the increase for the amount of loss

under U.S.S.G. § 2B1.1(b)(1) should have been six levels, rather

than     18     levels,     and      that       a       twelve    level       reduction          would

potentially make Ms. Holley’s guideline range equal to or lower

than the sentence imposed and that, after the factors identified

                                                    2
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in 18 U.S.C. § 3553(a) – which have previously been recognized

by the Court -- are taken into account, the term of imprisonment

would be less than the expected duration of the appeal process.

       The Court considers whether this argument to be presented

on appeal qualifies as a substantial question of law or fact and

concludes that it does not.               “[A]n appeal raises a substantial

question when the appeal presents a close question or one that

could go either way and that the question is so integral to the

merits of the conviction that it is more probable than not that

reversal or a new trial will occur if the question is decided in

the defendant's favor.” United States v. Pollard, 778 F.2d 1177,

1182 (6th Cir. 1985) (quoting United States v. Powell, 761 F.2d

1227, 1233–34 (8th Cir. 1985) (internal quotations omitted)). A

substantial question is “one which is either novel, which has

not been decided by controlling precedent, or which is fairly

doubtful.” United States v. Miller, 753 F.2d 19, 23 (3d Cir.

1985), see also United States v. Randell, 761 F.2d 122, 125 (2d

Cir.   1985).        The   Sixth    Circuit     has    held   that    18   U.S.C.        §

3143(b)(1)(B) “does not require the district court to find that

it committed reversible error” for it to find that the appeal

raises a substantial question. Pollard, 778 F.2d at 1181–82. Nor

must   the   court    find   that    defendant        is   likely    to   prevail   on

appeal. Powell, 761 F.2d at 1234.



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     Here, the Court does not doubt that the question to be

raised on appeal presents a question integral to the merits of

her sentencing concerns.        However, the issue presented is fairly

straightforward,     neither    novel        nor   one   for    which    controlling

precedent is lacking, and the result is not “fairly doubted.”

Thus, the Court is not persuaded that the appeal is likely to

result in reversal, an order for a new trial, a sentence that

does not include a term of imprisonment, or a reduced sentence

as required for relief under 18 U.S.C. § 3143(b)(B)(i)-(iv).

     Accordingly,     Defendant     Eli       Holley’s      Motion      for    Release

Pending Appeal [DE 708] is DENIED.

     This the 2nd day of April, 2015.




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